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                               UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

 In Re:
                                                                                        Chapter 7
                                                                          Case No. 18-53908-PMB
 JOSHUA WILLIAM WADDELL, Debtor,
 PACIFIC UNION FINANCIAL, LLC, Creditor,



            NOTICE OF APPEARANCE AND REQUEST TO RECEIVE NOTICES



           Comes now BARRETT DAFFIN FRAPPIER TURNER & ENGEL, LLP pursuant to

 Bankruptcy Rules 2002, 9007, 9008 and 9010, and files this Notice of Appearance and

 Demand for Service of Papers as Counsel for PACIFIC UNION FINANCIAL, LLC, party in

 interest in the captioned proceedings.

           Request is hereby made that all notices given or required to be given in this case and in

 any cases consolidated herewith, and all papers served or required to be served in this case and

 in any cases consolidated herewith, be given to and served upon the undersigned attorneys at

 the address and telephone number as follows:

                     BARRETT DAFFIN FRAPPIER TURNER & ENGEL, LLP
                                 4004 Belt Line Rd Ste. 100
                                   ADDISON, TX 75001
                                      (972) 341-0500

           This request encompasses all notices and pleadings including, without limitation,

 notices of any orders, motions, pleadings or requests, formal or informal applications,

 disclosure statement or plan of reorganization or any other documents brought before this

 Court in this case.

                This Notice of Appearance shall not be construed as authorization to serve counsel


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 for PACIFIC UNION FINANCIAL, LLC with any summons and complaint or any service of

 process under Bankruptcy Rule 7001, et. seq. The undersigned firm will not accept service of

 process in any adversary case for PACIFIC UNION FINANCIAL, LLC.

           BARRETT DAFFIN FRAPPIER TURNER & ENGEL, LLP, additionally requests that

 the Debtor and the Clerk of the Court place the name and address of the undersigned attorney

 on any mailing matrix to be prepared or existing in the above-numbered case, and on any list

 of creditors to be prepared or existing in the above-numbered bankruptcy case.


                                              BARRETT DAFFIN FRAPPIER
                                              TURNER & ENGEL, LLP


                                        BY: /s/ ABBEY ULSH DREHER          07/30/2018
                                            ABBEY ULSH DREHER
                                            GA NO. 113608
                                            4004 Belt Line Rd Ste. 100
                                            ADDISON, TX 75001
                                            Telephone: (972) 341-0500
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                                            ATTORNEY FOR CREDITOR




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                                         CERTIFICATE OF SERVICE

       I hereby certify that on July 30, 2018, a true and correct copy of the Notice of Appearance

and Request for Duplicate Notice was served via electronic means as listed on the Court's ECF

noticing system or by regular first class mail to the parties listed on the attached list.



                                                Respectfully submitted,

                                                BARRETT DAFFIN FRAPPIER
                                                TURNER & ENGEL, LLP


                                                BY: /s/ ABBEY ULSH DREHER          07/30/2018
                                                    ABBEY ULSH DREHER
                                                    GA NO. 113608
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                                                    E-mail: GA.ND.ECF@BDFGROUP.COM
                                                    ATTORNEY FOR CREDITOR




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BY ELECTRONIC NOTICE OR REGULAR FIRST CLASS MAIL:

DEBTOR:
JOSHUA WILLIAM WADDELL
12430 WHITESIDE ROAD
PALMETTO, GA 30268

DEBTOR'S ATTORNEY:
HOWARD P. SLOMKA
OVERLOOK III - SUITE 1700
2859 PACES FERRY RD, SE
ATLANTA, GA 30339

TRUSTEE:
WILLIAM J. LAYNG, JR.
2451 CUMBERLAND PARKWAY
SUITE 3477
ATLANTA, GA 30339-6157




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